Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 1 of 39 Page ID #:315
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 3 of 39 Page ID #:317
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 4 of 39 Page ID #:318
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 5 of 39 Page ID #:319
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 6 of 39 Page ID #:320
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 7 of 39 Page ID #:321
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 8 of 39 Page ID #:322




           IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
   forth below.


                                           Plaintiffs Jason Adams, et al.



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                                           [Print]


         Dated: 6 7 /� /       , 2019


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                                           [Print]


         Dated:   1-J / -      , 2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 10 of 39 Page ID
                                   #:324




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:     ‘   t      ,2019




       Dated:      1I       ,2019
                                         Signature:

                                         Name:
                                         [Print]


       Dated:   Q.3/v       ,2019


                                         Name:
                                         [Print]


       Dated:         0)    ,2019
                                         Signature:

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                                         [Print]


      Dated:
                                         Signature:

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                                        [Print]


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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 11 of 39 Page ID
                                   #:325




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:   •       t    ,2019



                                         [Print]



       Dated:       t        ,2019




       Dated:ë6D\            ,2019




       Dated:           Ii   ,2019
                                         Signature:

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      Dated:
                /            ,2019
                                         Signature :?—-

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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 12 of 39 Page ID
                                   #:326




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                          Plaintiffs Jason Adams, et at.



       Dated:<Yi                  ,2019
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                                          Name:__________________________________
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                                          [Print]


       Dated:                 I   ,2019
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                                          Name: ;ev
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                                          Signatur

                                          Name:____________________________________
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      Dated:              /       ,2019
                                          Signature:

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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 13 of 39 Page ID
                                   #:327




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:       /        ,2019


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       Dated:   ç1)         ,2019
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                                        Name
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 14 of 39 Page ID
                                   #:328




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:                ,2019



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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 15 of 39 Page ID
                                   #:329




          IN WITNESS WhEREOF,   the Parties have executed this Agreement as of the date set
 forth   below.




                                       Plaintiffs Jason Adams,    et at.




          Dated:


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                                       Name:__________________________________
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                                       Signature




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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 16 of 39 Page ID
                                   #:330




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:
                                2019




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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 17 of 39 Page ID
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 18 of 39 Page ID
                                   #:332




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:   g/z /i        2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 19 of 39 Page ID
                                   #:333




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et a!.



       Dated:   4c%&cr ?      2019
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                                         Name: XØ4L Ot24S
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       Dated:        2.—    ,2019
                                         Signature

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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 20 of 39 Page ID
                                   #:334




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:?’t9            ,2019



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       Dated:         6—2O19
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                                         Name:’,          t1( ,
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      Dated:    O1          ,2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 21 of 39 Page ID
                                   #:335




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams,   et at.


       Dated:           I    ,   2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 22 of 39 Page ID
                                   #:336




         IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
 forth below.


                                         Plaintiffs Jason Adams, et at.



       Dated:   3   -    —    2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 23 of 39 Page ID
                                   #:337
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 24 of 39 Page ID
                                   #:338
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 25 of 39 Page ID
                                   #:339




        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
forth below.


                                        Plaintiffs Jason Adams, et al.


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      Dated:                , 2019
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    Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 26 of 39 Page ID
                                       #:340


                                                                s   Agreement as of the date set
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      forth b elow.




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                                             Plaintiffs Jason Adams, et al.




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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 27 of 39 Page ID
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 28 of 39 Page ID
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                                   #:343
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                                   #:344
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 31 of 39 Page ID
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 32 of 39 Page ID
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 33 of 39 Page ID
                                   #:347


                 IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
          forth below.


                                                  Plaintiffs Jason Adams, et al.



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                                                   Name:_
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                  Dated:               , 2019
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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 34 of 39 Page ID
                                   #:348




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Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 35 of 39 Page ID
                                   #:349
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 36 of 39 Page ID
                                   #:350



    Case 2:19-cv-00297-PA-GJS Document 108 Filed 09/04/19 Page 14 of 17 Page ID #:296




             IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set
      forth below.

            Dated: Oeibber. 4:2.3, 2019                City of Baldwin Park, a California
                                                       Muni ip Corpggation


                                          Signature:
                                          Name :        Manuel Lozano
                                          Title:        Mayor




            APPROVED AS TO FORM:


            Dated          at ,   2019                 Richards, Watson & Gershon
                                                          nifer Petrusis



                                                         nifer Peti F is
                                                        ounsel for C ty of Baldwin Park


            Dated: 0             , 2019                Castillo Harper
                                                       Brandi L. Harper
                                                       Joseph

                                                By:
                                                       Bran i
                                                       Joseph N. Bolander
                                                       Counsel for Plaintiffs Jason Adams, et al.
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 37 of 39 Page ID
                                   #:351
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 38 of 39 Page ID
                                   #:352
Case 2:19-cv-00297-PA-GJS Document 110-1 Filed 10/25/19 Page 39 of 39 Page ID
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